Print

From: Jeff Reh

Sent: Thursday, August 25, 2016 12:01 PM
To: Paul Wilkin <PWilkin@B8erettausa.com>
Subject: RE: Are you still in Tennessee

Dear Paul,

I told Alison J would assess the situation when I was in Gallatin, which I did. I had already seen your complaint
about Chris before my visit so I wanted to meet with Chris to also get his side of the story.

The strong impression I came away with after talking to Chris is that, far from being prejudiced against you, he
cares about you and wants to help you continue with your job in a professional and responsible manner. Based
on my discussions with him I was satisfied that it is certainly not his intent, in word or deed, to do anything but
help ensure you are and remain a capable and dependable employee.

Sincerest regards,
Jeff

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From: Paul Wilkin
Sent: Wednesday, August 24, 2016 5:08 PM
To: Jeff Reh < >

Subject: RE; Are you still in Tennessee

Ms. Kotler told me you would speak with me when you were here.

Paul Wilkin
ASQ CQT.CQE,CRE

Beretta U.S.A, Corp. :
1399 Gateway Dr, Gallatin TN 37066
CT} (615) $27-7822 x 1517

From: Jeff Reh
Sent: Wednesday, August 24, 2016 3:56 PM:
To: Paul Wilkin < >

Subject: RE: Are you still in Tennessee

From: Paul Wilkin
Sent: Wednesday, Augiist 24, 2016 4:53 PM
To: Jeff Reh < >

Subject: Are you still in Tennessee

Sir,

Are you still in Tennessee?

Paul Wilkin
ASQ CQT,CQE,CRE

Beretta U.S.A. Corp.
1399 Gateway Dr, Gallatin TN 37066
(T) (615) 527-7822 x 1517

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